       Case 3:20-cv-01168-JLS-RBB Document 18 Filed 01/05/21 PageID.89 Page 1 of 1
                                                                                                     Page 1 of 1

                          MINUTES OF THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

JAQUEZ v. FCA US LLC, et al.                                       Case No.: 20cv1168-JLS(RBB)
                                                                 Time Spent:

HON. RUBEN B. BROOKS                                                       Rptr.

                                                  Attorneys
                      Plaintiffs                                              Defendants




 PROCEEDINGS:               ☐ In Chambers                     ☐ In Court                ☐ Telephonic


The parties have filed a Joint Motion to Extend the Fact Discovery Deadline in which they seek to continue the
deadline for fact discovery from February 19, 2021, to June 18, 2021 [ECF No. 17]. Rule 16 of the Federal
Rules of Civil Procedure permits the modification of a schedule only upon a showing of good cause. See Fed.
R. Civ. P. 16(b)(4). The parties state that they need additional time to complete fact discovery but offer no
specific reason or basis for requiring an extension. Thus, they have not demonstrated good cause. Accordingly,
the joint motion is DENIED.




DATE: January 5, 2021                         IT IS SO ORDERED:
                                                                           Ruben B. Brooks,
                                                                           U.S. Magistrate Judge
cc: Judge Sammartino
  All Parties of Record
